      Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 1 of 8 PageID #:3201




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

PEANUTS WORLDWIDE LLC,
                                                         Case No. 20-cv-07279
                  Plaintiff,
                                                         Judge Mary M. Rowland
v.
                                                         Magistrate Judge Sunil R. Harjani
HHAC, et al.,

                  Defendants.


                                    FINAL JUDGMENT ORDER

          This action having been commenced by Plaintiff Peanuts Worldwide LLC’s (“Plaintiff”)

against the fully interactive, e-commerce stores 1 operating under the seller aliases identified on

Schedule A to the Complaint (collectively, the “Seller Aliases”), and Plaintiff having moved for

entry of Default and Default Judgment against Defendants Orrios, Zhoukuang, Qiujian2222, Sabah

Fashion, Erpinger, and Sivas (collectively, the “Defaulting Defendants”);

          This Court having entered upon a showing by Plaintiff, a temporary restraining order and

preliminary injunction against Defaulting Defendants which included an asset restraining order;

          Plaintiff having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication and e-mail, being notice reasonably

calculated under all circumstances to apprise Defaulting Defendants of the pendency of the action

and affording them the opportunity to answer and present their objections; and

          Defaulting Defendants having failed to answer the Complaint or otherwise plead, and the

time for answering the Complaint having expired;



1
    The e-commerce store urls are listed on Schedule A to the Complaint under the Online Marketplaces.


                                                     1
    Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 2 of 8 PageID #:3202




       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward consumers

in the United States, including Illinois. Specifically, Defaulting Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States

consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars, and have sold products bearing unauthorized copies of the Peanuts

Copyrighted Designs (including U.S. Copyright Registration Nos. B 197-759, GP 59-162, and A

95-985) and/or using infringing and counterfeit versions of the PEANUTS Trademarks

(collectively, the “Unauthorized Peanuts Products”) to residents of Illinois. A non-exclusive list

of the PEANUTS Trademarks is included in the below chart.

  Registration
                        Trademark                            Goods and Services
      No.
                                            For: address books; books (including coloring
                                            books); datebooks; greeting cards; growth charts
                                            made of paper; invitations; memo pads; nametags
                                            made of paper; paintbrushes; paper napkins; pencils;
    1,255,304           PEANUTS             pencil boxes and cases; place cards made of paper;
                                            playing cards; telephone list books; wrapping paper
                                            for gifts; writing paper and envelopes; and writing
                                            tablets in class 016.

                                            For: Christmas decorations and ornaments; dolls;
    1,265,839           PEANUTS             playsets; puzzles in class 028.

                                            For: music boxes in class 015.
    1,301,542           PEANUTS
                                            For: clothing; namely, infant boys' and girls' creepers,
                                            leggings, shorts, jackets, tops, boys' tops, shorts,
                                            tank tops, fleece tops, pants, pajamas, jackets,
    1,729,501           PEANUTS
                                            shorts, and socks; girls' shorts, tops, creepers,
                                            jumpers, socks and hosiery in class 025.

                                            For: bed linen, namely bedspreads, blankets,
                                            comforters, pillowcases, pillow shams, and sheets in
    1,970,335           PEANUTS
                                            class 024.



                                                 2
 Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 3 of 8 PageID #:3203




Registration
                 Trademark                         Goods and Services
    No.
                                  For: pre-recorded DVDs featuring animated
                                  characters; pre-recorded CDs featured animated
                                  character voices; films featuring animated characters;
                                  computer game programs, computer game software,
                                  video games, namely, video game software, video
                                  game cartridges and video game discs; downloadable
 4,017,645        PEANUTS
                                  television shows featuring animated characters in
                                  class 009.

                                  For: continuing animated programs distributed over
                                  television, satellite, audio, video media, the internet
                                  and worldwide web in class 041.
                                  For: motion picture films featuring animated
                                  cartoons; downloadable motion pictures featuring
 4,429,043        PEANUTS
                                  animated cartoons; downloadable music in class 009.

                                  For: porcelain commemorative plates in class 021.
 5,023,666        PEANUTS
                                  For: bags, namely, purses, tote bags, backpacks, book
                                  bags, school bags, diaper bags, duffel bags,
                                  messenger bags, overnight bags, sling bags,
                                  luggage, luggage tags, travels bags and garment
                                  bags for travel, cosmetic bags sold empty, toiletry
 5,392,411        PEANUTS         bags sold empty, cinch sacks in the nature of
                                  drawstring bags used as backpacks, wristlet bags,
                                  wallets, change purses, leather and imitation
                                  leather key chains, umbrellas; pet clothing; pet
                                  accessories, namely, leashes, collars in class 018.

                                  For: games and toys; ornaments and decorations for
 1,254,632        SNOOPY
                                  Christmas trees in class 028.
                                  For: jewelry, watches, and clocks in class 014.
 1,256,819        SNOOPY
                                  For: luggage and totebags in class 018.
 1,256,900        SNOOPY
                                  For: athletic jerseys, aprons, bibs, coats, footwear,
                                  gloves, hats, jackets, jogging suits, mittens,
                                  nightgowns, nightshirts, pajamas, t-shirts, tank
 1,256,970        SNOOPY
                                  tops, shorts, socks, sweatshirts, and underwear in
                                  class 025.

                                  For: picture frames in class 020.
 1,267,166        SNOOPY



                                      3
   Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 4 of 8 PageID #:3204




  Registration
                       Trademark                            Goods and Services
      No.
                                           For: adhesive bandages in class 005.
    1,268,857           SNOOPY
                                           For: drinking glasses, glass mugs, ceramic mugs,
                                           decorative ceramic storage containers for
    1,286,055           SNOOPY
                                           miscellaneous items, and toothbrushes in class 021.

                                           For: books, writing paper and envelopes, paint
                                           brushes, playing cards, printed instructional and
                                           teaching materials, crayons, felt-tip markers,
    1,300,520           SNOOPY             pencils, erasers, paper lunchbags, calendars,
                                           drawing paper and tablets, and memo pads in class
                                           016.

                                           For: gummy candies in class 030.
    2,492,720           SNOOPY
                                           For: pre-recorded DVDs, pre-recorded CDs, motion
                                           picture films for television featuring animated
                                           characters; computer game programs; computer
    4,145,986           SNOOPY
                                           game software; video game programs; video
                                           game discs; and video game software in class 009.

                                           For: motion picture films featuring children's
                                           entertainment; downloadable motion pictures
    5,218,767           SNOOPY
                                           featuring children's entertainment in class 009.

                                           For: motion picture films featuring animated
                                           cartoons; downloadable motion pictures featuring
                                           animated cartoons; downloadable music, ringtones
    5,214,344        CHARLIE BROWN
                                           and electronic games via the internet and wireless
                                           devices in class 009.


       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful federal

trademark infringement and counterfeiting (15 U.S.C. § 1114) and false designation of origin (15

U.S.C. § 1125(a)).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and that

this Final Judgment is entered against Defaulting Defendants.


                                               4
     Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 5 of 8 PageID #:3205




       IT IS FURTHER ORDERED that:

1.     Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert or

       participation with them be permanently enjoined and restrained from:

       a. using the PEANUTS Trademarks or any reproductions, counterfeit copies or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine Peanuts

           product or not authorized by Plaintiff to be sold in connection with the PEANUTS

           Trademarks;

       b. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Peanuts Copyrighted Designs in any manner without the express authorization of

           Plaintiff;

       c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Peanuts product or any other product produced by Plaintiff, that is not Plaintiff’s or not

           produced under the authorization, control or supervision of Plaintiff and approved by

           Plaintiff for sale under the PEANUTS Trademarks and/or the Peanuts Copyrighted

           Designs;

       d. committing any acts calculated to cause consumers to believe that Defaulting

           Defendants’ Unauthorized Peanuts Products are those sold under the authorization,

           control or supervision of Plaintiff, or are sponsored by, approved by, or otherwise

           connected with Plaintiff;

       e. further infringing the PEANUTS Trademarks and damaging Plaintiff’s goodwill; and




                                                 5
     Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 6 of 8 PageID #:3206




       f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing products or inventory not manufactured by or for Plaintiff’s, nor

           authorized by Plaintiff to be sold or offered for sale, and which bear any of Plaintiff’s

           trademarks, including the PEANUTS Trademarks, or any reproductions, counterfeit

           copies or colorable imitations thereof and/or which bear the Peanuts Copyrighted

           Designs.

2.     Upon Plaintiff’s request, any third party with actual notice of this Order who is providing

       services for any of the Defaulting Defendants, or in connection with any of the Defaulting

       Defendants’ Online Marketplaces, including, without limitation, any online marketplace

       platforms such as eBay Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd.

       (“Alibaba”), Amazon.com, Inc. (“Amazon”), ContextLogic Inc. d/b/a Wish.com

       (“Wish.com”), and Dhgate, (collectively, the “Third Party Providers”) shall within ten (10)

       business days of receipt of this Order disable and cease displaying any advertisements used

       by or associated with Defaulting Defendants in connection with the sale of counterfeit and

       infringing goods using the PEANUTS Trademarks.

3.     Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff is awarded statutory damages from each of

       the Defaulting Defendants in the amount of five hundred thousand dollars ($500,000) for

       willful use of counterfeit PEANUTS Trademarks on products sold through at least the

       Defaulting Defendants’ Online Marketplaces.           The five hundred thousand dollar

       ($500,000) award shall apply to each distinct Defaulting Defendant only once, even if they

       are listed under multiple different aliases in the Schedule A to the Complaint.

4.     Pursuant to 17 U.S.C. § 504(c)(2), Plaintiff is awarded statutory damages from each of the

       Defaulting Defendants in the amount of one hundred thousand dollars ($100,000) for



                                                 6
     Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 7 of 8 PageID #:3207




       willful copyright infringement of the Peanuts Copyrighted Designs. The one hundred

       thousand dollar ($100,000) award shall apply to each distinct Defaulting Defendant only

       once, even if they are listed under multiple different aliases in the Schedule A to the

       Complaint.

5.     Plaintiff may serve this Order on Third Party Providers, including PayPal, Inc. (“PayPal”),

       Alipay, Alibaba, Ant Financial Services Group (“Ant Financial”), Wish.com, and Amazon

       Pay, by e-mail delivery to the e-mail addresses Plaintiff used to serve the Temporary

       Restraining Order on the Third Party Providers.

6.     Any Third Party Providers holding funds for Defaulting Defendants, including PayPal,

       Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay, shall, within ten (10) business

       days of receipt of this Order, permanently restrain and enjoin any financial accounts

       connected to Defaulting Defendants’ Seller Aliases or from transferring or disposing of

       any funds, up to the above identified statutory damages award, or other of Defaulting

       Defendants’ assets.

7.     All monies, up to the above identified statutory damages award, in Defaulting Defendants’

       financial accounts, including monies held by Third Party Providers such as PayPal, Alipay,

       Alibaba, Ant Financial, Wish.com, and Amazon Pay, are hereby released to Plaintiff as

       partial payment of the above-identified damages, and Third Party Providers, including

       PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay, are ordered to release

       to Plaintiff the amounts from Defaulting Defendants’ financial accounts within ten (10)

       business days of receipt of this Order.

8.     Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

       Defendant, Plaintiff shall have the ongoing authority to serve this Order on Third Party



                                                 7
     Case: 1:20-cv-07279 Document #: 52 Filed: 04/13/21 Page 8 of 8 PageID #:3208




       Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay,

       in the event that any new financial accounts controlled or operated by Defaulting

       Defendants are identified. Upon receipt of this Order, Third Party Providers, including

       PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay, shall within ten (10)

       business days:

       a. locate all accounts and funds connected to Defaulting Defendants’ Seller Aliases, the

           e-mail addresses identified for Defaulting Defendants in Exhibit 3 to the Declaration

           of Carrie J. Dumont, and any e-mail addresses provided for Defaulting Defendants by

           third parties;

       b. restrain and enjoin such accounts or funds from transferring or disposing of any money

           or other of Defaulting Defendants’ assets; and

       c. release all monies, up to the above identified statutory damages award, in Defaulting

           Defendants’ financial accounts to Plaintiff as partial payment of the above-identified

           damages within ten (10) business days of receipt of this Order.

9.     In the event that Plaintiff identifies any additional online marketplace accounts, or financial

       accounts owned by Defaulting Defendants, Plaintiff may send notice of any supplemental

       proceeding to Defaulting Defendants by e-mail at the e-mail addresses identified for

       Defaulting Defendants in Exhibit 3 to the Declaration of Carrie J. Dumont and any e-mail

       addresses provided for Defaulting Defendants by third parties.

This is a Final Judgment.

DATED: April 13, 2021

                                              ___________________________________
                                              Mary M. Rowland
                                              United States District Judge



                                                 8
